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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           :
 NEAL MILLER and DONNA MILLER,             :
 Individually and as Administrators of the : CIVIL ACTION
 Estate of RYAN MILLER, a Minor, Deceased :
                                           :
                             Plaintiffs,   :
                                           : No. 20-6301
        v.                                 :
                                           :
 Police Officer Joseph Wolk,               :
                                           :
                             Defendant     :
                                           :

                                      SCHEDULING ORDER

      AND NOW, this 13th day of December 2023, upon consideration of the parties’ Joint

Proposed Scheduling Order, it is ORDERED as follows:

   1. The parties shall comply with the following deadlines:

      a.    Deadline for dispositive motions: February 01, 2024.

      b.    Responses to such motions shall be filed no later than February 20, 2024.

      c.    Pretrial Memoranda filed and served pursuant to Local Rule 16.1(c), and service of a

            copy of trial exhibits:

                    i. Plaintiff: April 01, 2024.

                    ii. Defendant: April 15, 2024

      d. Date for trial or entry into trial pool: May 1, 2024

      The parties shall follow Judge Baylson’s pretrial and trial procedures.

                                                            BY THE COURT:

                                                            /s/ Michael M. Baylson
                                                            ______________________________
                                                            MICHAEL M. BAYLSON, U.S.D.J.
